                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF WISCONSIN
                                   MILWAUKEE DIVISION


 SUSAN GARCIAFANJUL,                                                   Case No. 21-cv-267

                 Plaintiff,

 vs.

 CCB CREDIT SERVICES, INC.,

                Defendant.



                                          COMPLAINT



       NOW COMES Plaintiff Susan Garciafanjul, by and through her attorney, Nathan

DeLadurantey of DeLadurantey Law Office, LLC and complains of Defendant CCB Credit

Services, Inc., and alleges to the best of her knowledge, information and belief formed after an

inquiry reasonable under the circumstances, the following:

                                        INTRODUCTION

                                        Nature of the Action

       1.      This lawsuit arises from the illegal collection attempts of Defendant.

       2.      Causes of Action herein are brought under the Fair Debt Collection Practices Act,

15 U.S.C. § 1692 et seq. (“FDCPA”)

                                       Jurisdiction and Venue

       3.      Jurisdiction of this Court arises under 28 U.S.C. § 1331, because the case arises

under the laws of the United States.




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       4.       This Court also has jurisdiction under 15 U.S.C. § 1692 as it is an action to enforce

liability created by the FDCPA within one year from the date on which the violation occurred.

       5.       Venue in this Court is appropriate pursuant to 28 U.S.C. § 1391(b)(2), because

this is where the acts giving rise to the claim occurred.

       6.       Under 28 U.S.C. § 1391(c), a defendant corporation shall be deemed to reside in

any judicial district in which it is subject to personal jurisdiction. Defendant is subject to

personal jurisdiction in Wisconsin, since they do business in Wisconsin.

                                               Parties

       7.       Plaintiff Susan Garciafanjul (hereinafter “Plaintiff”) is a natural person who resides

in the County of Kenosha, State of Wisconsin.

       8.       Plaintiff is a “consumer” as defined by 15 U.S.C. §1962a(3).

       9.       Defendant CCB Credit Services, Inc. (“Defendant”) is a company with an office

address at 5300 S. 6th Street, Springfield, IL 62703. Defendant’s registered agent is Donna L.

Ragsdale, at the same address.

       10.      Defendant is a “debt collector” pursuant to 15 U.S.C. § 1692a(6).

                                         BACKGROUND

       11.      On February 18, 2021, Defendant sent a collection letter to the Plaintiff.

       12.      The alleged debt that the Defendant was attempting to collect that had previously

been fully satisfied and released, and therefore does not exist.

       13.      Plaintiff grew distressed and concerned by the collection attempt, incurring actual

damages in the form of emotional distress, along with other actual damages.

       14.      Plaintiff contacted Defendant and conveyed information that the debt was not

owed and provided details related to this position.




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       15.      Defendant had actual and/or constructive knowledge that the alleged underlying

debt was not owed. Defendant was not deterred by this evidence, but proceeded to engage in

additional collection attempts on the non-existent debt.

      Count 1 – Violations of the Fair Debt Collection Practices Act, (15 U.S.C. §1692)

       16.      Plaintiff incorporates by reference all of the above-paragraphs of this Complaint as

though fully stated herein.

       17.      Plaintiff is a consumer as defined by 15 U.S.C. §1692a(3).

       18.      The foregoing acts of the Defendant and its agents constitute numerous and

multiple violations of the FDCPA including, but not limited to, 15 U.S.C. §§ 1692e, 1692e(2),

1692e(5), 1692e(10), 1692f, and 1692f(1) with respect to Plaintiff.

       19.      Specifically, under 15 U.S.C. § 1692e(2), a debt collector cannot make a false

representation about the amount of debt owed, which it did in the above reference actions.

       20.      Specifically, under 15 U.S.C. § 1692e(5), a debt collector cannot threaten to take

any action they legally cannot take, which it did in the above reference actions.

       21.      Under 15 U.S.C. § 1692e(10), a debt collector cannot use false representation or

deceptive means to collect, which it did in the above reference actions.

       22.      Under 15 U.S.C. § 1692f(1), a debt collector cannot collect an amount which it is

not authorized to collect, which it did in the above reference actions.

       23.      Plaintiff has suffered actual damages as a result of these illegal collection

communications, as stated above.

       24.      Plaintiff is entitled to actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory

damages in an amount up to $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable

attorney’s fees and costs pursuant to 15 U.S.C. § 1692k(a)(3).




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             Count 2 – Violations of the Wisconsin Consumer Act (Wis. Stat. 427.104)

           25.      Plaintiff incorporates by reference all the foregoing paragraphs.

           26.      Wis. Stat. 427.104(1)(h) provides, in pertinent part: “In attempting to collect an

alleged debt arising from a consumer credit transaction or other consumer transaction…a debt

collector may not: (h) Engage in other conduct which can reasonably be expected to threaten or

harass the customer or a person related to the customer.”

           27.      Defendant violated Wis. Stat. 427.104(1)(h) when Defendant engaged in the above

referenced collection attempts.

           28.      Wis. Stat. 427.104(1)(i) provides, in pertinent part: “In attempting to collect an

alleged debt arising from a consumer credit transaction or other consumer transaction…a debt

collector may not: (i) Use obscene or threatening language in communicating with the customer…”

           29.      Defendant violated Wis. Stat. 427.104(1)(i) when Defendant used harassing and

threatening language with Plaintiff, when they engaged in the above referenced collection

attempts.

           30.      Plaintiff suffered actual damages as result of Defendant’s violations of Wis. Stat.

427.104(1)(h) and Wis. Stat. 427.104(1)(j).

           31.      Plaintiff is entitled to all of the remedies identified in Wis. Stat. 427.105 and Wis.

Stat. 425.304.

                                               Trial by Jury

           Plaintiff is entitled to, and hereby respectfully demands a trial by jury on all issues so

triable.



           WHEREFORE, Plaintiff prays that this Court will enter judgment against Defendant as
follows:



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A.      Actual damages in an amount to be determined at trial pursuant to 15 U.S.C. §
        1692k(a)(1);
B.      Statutory damages of $1,000 pursuant to 15 U.S.C. § 1692k(a)(2)(A);
C.      Costs and reasonable attorneys’ fees pursuant to 15 U.S.C. § 1692k(a)(3);
D.      For an award of actual damages, statutory damages, punitive damages (if the
        evidence at trial so warrants), actual costs, and attorneys’ fees, under Wis. Stat.
        427.105 and 425.304; and
E.      For such other and further relief as may be just and proper.




Dated this 26th day of February, 2021.


                                      s/ Nathan E. DeLadurantey
                                      Nathan E. DeLadurantey, 1063937
                                      DELADURANTEY LAW OFFICE, LLC
                                      330 S. Executive Drive, Suite 109
                                      Brookfield, WI 53005
                                      (414) 377-0515
                                      E: nathan@dela-law.com
                                      Attorneys for the Plaintiff




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